249 F.2d 319
    Kenneth David C. JOHNSON, also known as David Casper,v.UNITED STATES of America.
    No. 5671.
    United States Court of Appeals Tenth Circuit.
    Sept. 7, 1957.
    
      Bruce Ownbey, Denver, Colo., for appellant.
      John F. Raper, Jr., U.S. Atty., and William G. Walton, Asst. U.S. Atty., Cheyenne, Wyoming, for appellee.
      Before BRATTON, Chief Judge, and PHILLIPS and BREITENSTEIN, Circuit judges.
      PER CURIAM.
    
    
      1
      Affirmed without written opinion.
    
    